                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                   5:08-CV-496-D


 WEENER PLASTICS, INC.,                              )
                                                     )
                           Plaintiff,                )
                                                     )
                     v.                              )                    ORDER
                                                     )
 HNH PACKAGING, LLC and                              )
 CONTINENTAL CLOSURES, LLC,                          )
                                                     )
                           Defendants.               )

       This case comes before the court on the motion ofdefendants for claim and delivery (DE #3),

pursuant to Fed. R. Civ. P. 64 and N.C. Gen. Stat. § 1-472 to -484.1. Defendants seek recovery from

plaintiff of proprietary molds, customized assembly line equipment, and related spare parts and

software for the manufacture of plastic water bottle caps. The motion will be denied without

prejudice.

       Rule 64 makes available in federal actions prejudgment remedies, including replevin, which

is the return of property wrongfully possessed by another, on the terms they are provided for under

the law of the state in which the federal court is located. Fed. R. Civ. P. 64(a), (b). North Carolina

law provides for a replevin-related prejudgment remedy, termed claim and delivery, which entails

the immediate recovery ofproperty possessed by another pending entry offinal judgment. N.C. Gen.

Stat. § 1-472 to -484.1.

       North Carolina law is clear that claim and delivery is ancillary to an underlying claim to

recover possession of property. Gen. Stat. § 1-472 provides: "The plaintiff in an action to recover

the possession o/personal property may claim the immediate delivery of the property as provided

in this Article at any time before the judgment in the principal action." Gen. Stat. § 1-472 (emphasis



         Case 5:08-cv-00496-D            Document 9      Filed 10/02/08      Page 1 of 3
added). Defendants themselves quote this language in the memorandum supporting their motion.

(Defs.' Mem. (DE #4), p. 7). Similarly, the North Carolina Supreme Court recognized in a case

before it that the "Plaintiff was entitled to recover its property from the person or persons in

wrongful possession thereof; and, in an action therefor, the ancillary remedy of claim and delivery

... was available." See Mica Industries, Inc. v. Penland, 249 N.C. 602, 107 S.E.2d 120 (1959)

(emphasis added). Under Rule 64, a party must satisfy this prerequisite of an underlying claim for

recovery of the property to be entitled to claim and delivery. See Fed. R. Civ. P. 64(a); llA C.

Wright, A. Miller & M. Kane, Federal Practice & Procedure § 2932, p. 7 (2nd ed. 1995). Although

§ 1-472 and Penland speak in terms of plaintiffs utilizing claim and delivery, the court believes

claim and delivery is available to defendants if the requirements for it are otherwise met.

        Defendants have not satisfied the threshold requirement of § 1-472 that they assert a claim

for recovery of the property sought in the underlying action. The only claims presently asserted in

this action are plaintiffs claims for breach of contract.      (See CompI. (DE #1-3) ~~ 28-48).

Defendants have not yet answered the complaint.

        Requiring compliance with the prerequisite for an underlying claim for recovery ofproperty

is consistent with Rule 64. It permits recourse to state law remedies providing for the seizure of

property "to secure satisfaction ofthe potential judgment." Fed. R. Civ. P. 64(a). There is presently

no claim in this action upon which judgment could be entered whose satisfaction could be secured

by seizure of the property defendants seek.

        IT IS THEREFORE ORDERED that defendants' motion for claim and delivery is DENIED.

Defendants have leave to refile their motion if and when they rectify the deficiency which is the

subject of this order.


                                                 2



          Case 5:08-cv-00496-D         Document 9        Filed 10/02/08     Page 2 of 3
SO ORDERED, this the 2nd day of October, 2008.



                                        ~
                                        United States Magistrate Judge




                                    3



  Case 5:08-cv-00496-D     Document 9      Filed 10/02/08    Page 3 of 3
